       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 1 of 42



Timothy J. Preso
Amanda D. Galvan
Earthjustice
P.O. Box 4743
Bozeman, MT 59722-4743
(406) 586-9699
Fax: (406) 586-9695
tpreso@earthjustice.org
agalvan@earthjustice.org

Attorneys for Plaintiffs in Case No. 20-181

                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

                                              )
CENTER FOR BIOLOGICAL                         )
DIVERSITY, et al.,                            )
                                              )   Lead Case No.
                Plaintiffs,                   )   CV 20–181–M–DWM
                                              )
        v.                                    )   Member Case No.
                                              )   CV 20-183-M-DWM
DEB HAALAND, et al.,                          )
                                              )
                Defendants.                   )
                                              )
                                              )   BRIEF IN SUPPORT OF
WILDEARTH GUARDIANS, et al.,                  )   PLAINTIFFS’ MOTION
                                              )   FOR SUMMARY
                Plaintiffs,                   )   JUDGMENT IN NO. CV
                                              )   20-181-M-DWM
        v.                                    )
                                              )
DEB HAALAND, et al.,                          )
                                              )
                 Defendants.                  )
                                              )
          Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 2 of 42



                                         TABLE OF CONTENTS


I.       THE SERVICE ARBITRARILY DEEMED THE LOWER-48
         WOLVERINE POPULATION NOT TO CONSTITUTE A
         LISTABLE POPULATION SEGMENT UNDER THE ESA ...................... 3

         A.       The ESA’s Provision for Listing a Distinct Population Segment ....... 4

         B.        The Service’s Flip-Flopping on the Segment Issue ........................... 6

         C.       The Service’s Segment Analysis Violated the ESA ......................... 10

                  1.       The Service Failed to Rationally Explain Its Reversal of
                           Its Prior Findings Regarding Differences in Wolverine
                           Conservation Status Across the U.S.-Canada Border ............ 11

                           a.        Small Total Population Size ......................................... 12

                           b.        Inadequate Effective Population Size........................... 16

                           c.        Habitat Fragmentation .................................................. 21

                  2.       The Service Also Arbitrarily Determined That the
                           Lower-48 Wolverine Population is Not Markedly
                           Separate from the Canadian Population.................................. 27

II.      THE SERVICE ARBITRARILY REJECTED THREATS TO THE
         WOLVERINE ESTABLISHED BY THE BEST AVAILABLE
         SCIENCE ..................................................................................................... 31

III.     THE COURT SHOULD REMEDY THE SERVICE’S ESA
         VIOLATIONS BY VACATING AND REMANDING THE
         WITHDRAWAL DECISION WITH A 12-MONTH DEADLINE ............ 31

CONCLUSION ...................................................................................................... 35




                                                            i
         Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 3 of 42



                                   TABLE OF AUTHORITIES
                                             FEDERAL CASES

Alaska Ctr. for the Env’t v. Browner,
   20 F.3d 981 (9th Cir. 1994) ................................................................................33

All. for the Wild Rockies v. U.S. Forest Serv.,
   907 F.3d 1105 (9th Cir. 2018) ............................................................................31

Am. Acad. of Pediatrics v. U.S. Food & Drug Admin.,
  330 F. Supp. 3d 657 (D. Mass. 2018) .................................................................35

Defs. of Wildlife v. Babbitt,
  958 F. Supp. 670 (D.D.C. 1997) .........................................................................24

Defs. of Wildlife v. Jewell,
  176 F. Supp. 3d 975 (D. Mont. 2016)..........................................................passim

Defs. of Wildlife v. Kempthorne,
  CV 05-99-M-DWM, slip. op. (D. Mont. 2006) ..................................................33

Defs. of Wildlife v. Salazar,
  Civ. No. 08-139-M-DWM (D. Mont. filed June 10, 2009) .................................. 7
FCC v. Fox Television Stations, Inc.,
  556 U.S. 502 (2009) ......................................................................................10, 15
Kern Cnty. Farm Bureau v. Allen,
  450 F.3d 1072 (9th Cir. 2006) ............................................................................15
Nat’l Ass’n of Home Builders v. Norton,
  340 F.3d 835 (9th Cir. 2003) ..........................................................................5, 29

Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
  524 F.3d 917 (9th Cir. 2008) ..............................................................................32

Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
  No. CV 01–640–RE, CV 05–23–RE, 2005 WL 2488447 (D. Or.
  Oct. 7, 2005), aff’d, 524 F.3d 917 (9th Cir. 2008) .......................................33, 34

Nw. Coal. for Alternatives to Pesticides v. EPA,
  544 F.3d 1043 (9th Cir. 2008) ............................................................................13


                                                        ii
          Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 4 of 42



Nw. Env’t Def. Ctr. v. Bonneville Power Admin.,
  477 F.3d 668 (9th Cir. 2007) ..............................................................................29
Or. Nat. Res. Council v. Allen,
   476 F.3d 1031 (9th Cir. 2007) ................................................................10, 28, 30

Organized Vill. of Kake v. U.S. Dep’t of Agric.,
  795 F.3d 956 (9th Cir. 2015) (en banc) ..................................................10, 15, 25

Pollinator Stewardship Council v. U.S. Env’t Prot. Agency,
   806 F.3d 520 (9th Cir. 2015) ..............................................................................32

Sierra Club v. U.S. EPA,
   850 F. Supp. 2d 300 (D.D.C. 2012) ....................................................................35

Sw. Ctr. for Biological Diversity v. Babbitt,
  926 F. Supp. 920 (D. Ariz. 1996) ......................................................................... 4
                              STATUTES AND LEGISLATIVE MATERIALS

16 U.S.C.
   § 1531 et seq. ........................................................................................................2
   § 1532(6) ...............................................................................................................4
   § 1532(16) .............................................................................................................4
   § 1532(20) .............................................................................................................4
   § 1533(a)(1) ........................................................................................................31
   § 1533(a)(1)(D) ...................................................................................................12
   § 1533(b)(1)(A)............................................................................................passim
   § 1533(b)(6)(A)...................................................................................................35
   § 1536(a)(4) ........................................................................................................32

H.R. Rep. No. 93-412 (1973).....................................................................................5

S. Rep. No. 96-151 (1979) .........................................................................................5
                        REGULATIONS AND ADMINISTRATIVE MATERIALS

40 Fed. Reg. 31,734 (July 28, 1975) .......................................................................... 5

43 Fed. Reg. 6,230 (Feb. 14, 1978) ........................................................................... 5
61 Fed. Reg. 4,722 (Feb, 7, 1996) ....................................................................passim



                                                            iii
         Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 5 of 42



68 Fed. Reg. 60,112 (Oct. 21, 2003).......................................................................... 7
73 Fed. Reg. 12,929 (Mar. 11, 2008) ......................................................................... 7

75 Fed. Reg. 78,030 (Dec. 14, 2010) ................................................................passim

78 Fed. Reg. 7,864 (Feb. 4, 2013) .............................................................................8

79 Fed. Reg. 47,522 (Aug. 13, 2014)...................................................................9, 25

85 Fed. Reg. 64,618 (Oct. 13, 2020).................................................................passim

                                         OTHER AUTHORITIES
Douglas H. Chadwick, The Wolverine Way (2010).................................................. 1




                            Note on Administrative Record Citations

      Plaintiffs cite documents from the U.S. Fish and Wildlife Service
(“Service”) record using the Bates page number(s) for the cited material. These
documents, as produced by the Service, use Bates page numbers that include the
prefixes “FWS,” “PI,” and “LIT,” with the latter two prefixes followed by a
hyphen.




                                                      iv
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 6 of 42



      This case concerns the continued existence in the lower-48 United States of

an icon of the snowy northern wilderness—the North American wolverine. This

largest terrestrial member of the weasel family combines legendary toughness with

a remarkable capacity to traverse rugged country. Although the biggest males

weigh only about 40 pounds, wolverines “never back down, not even from the

biggest grizzly, and least of all from a mountain.” Douglas H. Chadwick, The

Wolverine Way 47 (2010).

      Today, however, the wolverine’s unmatched tenacity faces unprecedented

challenges. The remaining wolverines in the contiguous United States are

estimated to number only 250-300 individuals primarily occupying the northern

Rockies and north Cascades. In these areas, wolverines are widely scattered across

mountaintop habitat fragments and are frequently isolated from other members of

their species. These circumstances leave wolverines vulnerable to localized

extinctions and a downward spiral of inbreeding. Wolverines seeking to cross

between habitat patches must run a gauntlet of human developments as well as

lethal traps set for other species. And a growing body of scientific information

demonstrates that a warming climate will only worsen these threats by eliminating

deep, persistent snowpack—a defining feature of the remaining wolverine habitat

in the lower 48.




                                         1
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 7 of 42



      Five years ago, this Court, per Judge Christensen, catalogued the compelling

scientific evidence of these threats to the wolverine and recognized “the writing on

the wall for this snow-dependent species standing squarely in the path of global

climate change.” Defs. of Wildlife v. Jewell, 176 F. Supp. 3d 975, 1011 (D. Mont.

2016); see also id. at 1006 (acknowledging “a grim genetic picture for the

wolverine in the United States”). The Court therefore remanded and vacated a

2014 decision by the U.S. Fish and Wildlife Service that withdrew a 2013

proposed rule to list the wolverine population in the lower-48 states as a threatened

species under the Endangered Species Act (“ESA”), 16 U.S.C. § 1531 et seq. See

176 F. Supp. 3d at 1011-12. In so doing, this Court stated: “if there is one thing

required of the Service under the ESA, it is to take action at the earliest possible,

defensible point in time to protect against the loss of biodiversity within our reach

as a nation. For the wolverine, that time is now.” Id. at 1011.

      The Service’s response was to delay for more than four years until prodded

by litigation from Plaintiffs, and then to attempt yet another withdrawal of the

proposed wolverine listing. See 85 Fed. Reg. 64,618 (Oct. 13, 2020) (the

“Withdrawal”). This Withdrawal represented only the most recent in a series of

Service delays and evasions regarding the wolverine listing that now extend back

more than two decades and have consistently required judicial correction to

vindicate the mandates of the ESA. Today judicial correction of the Service’s


                                           2
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 8 of 42



unlawful conduct is once again required, and Plaintiffs turn to this Court for relief

on their own behalf and on behalf of the threatened wolverine. 1

I.    THE SERVICE ARBITRARILY DEEMED THE LOWER-48
      WOLVERINE POPULATION NOT TO CONSTITUTE A LISTABLE
      POPULATION SEGMENT UNDER THE ESA

      The Service’s Withdrawal erred at the outset by irrationally reversing the

agency’s prior conclusions and determining that the lower-48 wolverine population

does not constitute a “distinct population segment” (“segment”) eligible for listing

as an endangered or threatened species under the ESA. The agency’s negative

decision on this issue discarded a prior, positive segment finding for the lower-48

wolverine population that the agency announced in 2010 and twice reaffirmed

since then. Further, the Service’s negative segment determination in the

Withdrawal recycled misguided reasoning from a 2008 Service finding that the

agency declined to defend when it was previously challenged before this Court.

This reversion to a rationale that the Service itself deemed indefensible more than

13 years ago illustrates the increasingly tenuous nature of the agency’s evasions as

its campaign to avoid listing the lower-48 wolverine population under the ESA

enters a third decade. This Court should reject the Service’s flawed rationale and

remand the Withdrawal for a new segment determination.


1
 The background of this case is set forth in Plaintiffs’ Joint Statement of
Undisputed Facts in Support of Motions for Summary Judgment (“Statement of
Facts”).

                                          3
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 9 of 42



      A.     The ESA’s Provision for Listing a Distinct Population Segment

      To be protected by the ESA, a species must first be listed as endangered or

threatened. The ESA defines “endangered species” as “any species which is in

danger of extinction throughout all or a significant portion of its range.” 16 U.S.C.

§ 1532(6). A “threatened species” is “any species which is likely to become an

endangered species within the foreseeable future throughout all or a significant

portion of its range.” Id. § 1532(20). The ESA defines “species” to include “any

distinct population segment of any species of vertebrate fish or wildlife which

interbreeds when mature.” Id. § 1532(16). Thus, the ESA authorizes the Service

to list as endangered or threatened a distinct population segment of a vertebrate

species.

      In this regard, the ESA’s text and legislative history reflect a “consistent

policy decision by Congress that the United States should not wait until an entire

species faces global extinction before affording a domestic population segment of a

species protected status.” Sw. Ctr. for Biological Diversity v. Babbitt, 926 F.

Supp. 920, 924 (D. Ariz. 1996). Thus, in establishing that a species may be

deemed endangered or threatened based on threats “throughout . . . a significant

portion of its range,” 16 U.S.C. § 1532(6), (20), Congress sought to provide for

“the possibility of declaring a species endangered within the United States where

its principal range is in another country, such as Canada or Mexico, and members


                                          4
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 10 of 42



of that species are only found in this country insofar as they exist on the periphery

of their range.” H.R. Rep. No. 93-412, at 10 (1973). Similarly, in authorizing the

listing of distinct population segments, Congress recognized “that there may be

instances in which [the Service] should provide for different levels of protection

for populations of the same species. For instance, the U.S. population of an animal

should not necessarily be permitted to become extinct because the animal is more

abundant elsewhere in the world.” S. Rep. No. 96-151 (1979), reprinted in A

Legislative History of the Endangered Species Act, 97th Cong., 2d Sess. 1391,

1397 (1982). This statutory authority to provide differing levels of protection to

different populations is a key feature of the ESA that, among other things,

safeguards the biodiversity of the lower-48 United States. Many of the most

prominent ESA-protected species, including the grizzly bear and bald eagle, were

listed as imperiled in the lower-48 states despite more robust populations in Alaska

and Canada. See Amendment Listing the Grizzly Bear of the 48 Conterminous

States as a Threatened Species, 40 Fed. Reg. 31,734 (July 28, 1975); see

also Determination of Certain Bald Eagle Populations as Endangered or

Threatened, 43 Fed. Reg. 6,230 (Feb. 14, 1978).

      Congress did not define “distinct population segment” in the ESA, and the

term has no generally accepted scientific meaning. See Nat’l Ass’n of Home

Builders v. Norton, 340 F.3d 835, 842 & n.8 (9th Cir. 2003). In 1996, the Service


                                          5
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 11 of 42



issued a policy interpreting “distinct population segment” that requires

consideration of the discreteness of the population segment in relation to the

remainder of the species; the significance of the population segment to the species;

and the population segment’s conservation status in relation to the ESA’s standards

for listing. 61 Fed. Reg. 4,722, 4,725 (Feb. 7, 1996). With respect to discreteness,

“[t]he standard established for discreteness is simply an attempt to allow an entity

given DPS status under the Act to be adequately defined and described.” Id. at

4,724. A population may be discrete if it meets one of the following conditions:

      1. It is markedly separated from other populations of the same taxon
      as a consequence of physical, physiological, ecological, or behavioral
      factors. Quantitative measures of genetic or morphological
      discontinuity may provide evidence of this separation.

      2. It is delimited by international governmental boundaries within
      which differences in control of exploitation, management of habitat,
      conservation status, or regulatory mechanisms exist that are
      significant in light of section 4(a)(1)(D) of the Act.

Id. at 4,725. The Service must make its segment and other ESA listing

determinations “solely on the basis of the best scientific and commercial data

available . . . after conducting a review of the status of the species.” 16 U.S.C. §

1533(b)(1)(A).

      B.     The Service’s Flip-Flopping on the Segment Issue

      The Service’s application of its segment policy to the lower-48 wolverine

population has been characterized by a series of flip flops culminating in the


                                          6
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 12 of 42



challenged Withdrawal that returns the agency to an illegitimate position it initially

took in 2008 but then abandoned and reversed upon being challenged.

      The Service first made a segment determination regarding the lower-48

wolverine population after this Court overturned the agency’s initial, negative 90-

day finding on the wolverine listing petition and directed the agency to prepare a

12-month finding. See 73 Fed. Reg. 12,929, 12,929-30 (Mar. 11, 2008).2

      In that 12-month finding, the Service never addressed whether the lower-48

wolverine population constitutes an endangered or threatened species but instead

terminated its inquiry upon determining that this population “does not constitute a

distinct population segment.” Id. at 12,941. Despite acknowledging numerous

differences between the conservation status of wolverine populations on either side

of the U.S.-Canada border, the Service repeatedly deemed such differences

insignificant to the segment inquiry. See id. at 12,936-39. Yet when conservation

groups, including many of the Plaintiffs in this case, challenged that determination,

the Service declined to defend it, instead settling that challenge by agreeing to

issue a new 12-month finding by December 1, 2010. See Doc. 19-2, Stipulated

Settlement Agreement, Defs. of Wildlife v. Salazar, Civ. No. 08-139-M-DWM (D.

Mont. filed June 10, 2009).


2
 The Service’s unlawful 90-day finding claimed that a “lack of information
prevents us from determining whether wolverines in the contiguous United States
constitute” a segment. 68 Fed. Reg. 60,112, 60,114 (Oct. 21, 2003).

                                          7
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 13 of 42



      The Service’s new 12-month finding in 2010 reversed course on the segment

issue, determining that the lower-48 wolverine population satisfied segment

criteria and warranted listing due to the predicted impacts of climate change and

other factors—but deemed further progress toward listing “precluded by higher

priority listing actions.” 75 Fed. Reg. 78,030, 78,054 (Dec. 14, 2010).

Nevertheless, the Service determined that the lower-48 wolverine population was

discrete from the wolverine population north of the Canadian border because of the

lower-48 population’s much smaller numbers, reduced genetic diversity, and more

fragmented habitat, all of which constituted differences in conservation status that

necessitated greater regulatory protections for the lower-48 population and

therefore justified segment status. See id. at 78,037-40.3

      Subsequently, the Service twice reaffirmed its 2010 segment determination

for the lower-48 wolverine population. First, in its 2013 proposed rule to list the

lower-48 wolverine population as a threatened species under the ESA, the Service

incorporated by reference its segment analysis from the 2010 12-month finding and

reiterated that differences in the wolverine’s conservation status across the U.S.-

Canada border satisfied the discreteness criterion. See 78 Fed. Reg. 7,864, 7,873

(Feb. 4, 2013). Second, in its 2014 withdrawal of that proposed listing rule, the



3
  The Service also determined that the lower-48 wolverine population satisfied the
significance criterion for a segment designation. See 75 Fed. Reg. at 78,040-42.

                                          8
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 14 of 42



Service referenced and incorporated the 2010 finding “for a detailed evaluation of

the wolverine under our DPS policy.” 79 Fed. Reg. 47,522, 47,523 (Aug. 13,

2014). Thus, even in its prior attempt to withdraw the proposed wolverine

listing—which this Court deemed unlawful for numerous reasons, see Defs. of

Wildlife, 176 F. Supp. 3d at 1000-07—the Service did not attempt to question

whether the lower-48 wolverine population satisfied segment requirements.

      Notwithstanding the thrice-confirmed nature of its positive segment

determination for the lower-48 wolverine population, the Service reversed course

again in the challenged Withdrawal. The Service’s new segment determination

essentially returned the agency to where it started in 2008, cataloging numerous

differences in the conservation status of the lower-48 wolverine population from

the population north of the Canadian border, but deeming them insignificant to the

segment analysis. See 85 Fed. Reg. at 64,628-31. Based on its asserted reasoning,

the Service determined the lower-48 wolverine population does not satisfy the

discreteness criterion for a segment designation and therefore did not conduct an

analysis of significance. See id. at 64,631.4




4
 The record does not disclose the Service’s motivation for reversing its 2010
segment determination, apart from pressure by Idaho. See FWS0047178; see also
Defs. of Wildlife, 176 F. Supp. 3d at 1000 (stating Court’s suspicion that
“immense political pressure” from “a handful of western states” drove negative
wolverine-listing decision).

                                          9
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 15 of 42



      C.     The Service’s Segment Analysis Violated the ESA

      The Service’s discreteness analysis in the Withdrawal represented an

irrational reversal of the agency’s 2010 segment finding, repeatedly overlooked the

best available science contradicting its conclusions, and therefore violated the

ESA. In this regard, while an agency’s decision always must consider the

“important aspect[s]” of the problem it is confronting and reflect “a rational

connection between the facts found and the choices made,” Oregon Natural Res.

Council v. Allen, 476 F.3d 1031, 1036 (9th Cir. 2007), where, as here, an agency

reverses a prior policy conclusion based on new factual findings, it must offer “‘a

reasoned explanation … for disregarding facts and circumstances that underlay or

were engendered by the prior policy.’” Organized Vill. of Kake v. U.S. Dep’t of

Agric., 795 F.3d 956, 966 (9th Cir. 2015) (en banc) (quoting FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515-16 (2009)).

      The Service’s segment analysis in the Withdrawal fails to pass muster under

these standards. The Service’s conclusion that differences in the wolverine’s

conservation status across the U.S.-Canada border do not satisfy the discreteness

requirement for a segment designation failed to rationally explain the agency’s

reversal of its prior, diametrically opposite findings on this issue. Further, the

Service arbitrarily determined that the lower-48 wolverine population may not be




                                          10
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 16 of 42



deemed discrete for the independent reason that it is markedly separate from more

northerly populations.

             1.    The Service Failed to Rationally Explain Its Reversal of Its
                   Prior Findings Regarding Differences in Wolverine
                   Conservation Status Across the U.S.-Canada Border

      The Service offered no rational explanation for abandoning its prior findings

that the disparate conservation statuses of wolverines in the lower-48 states and

Canada justified designation of the lower-48 population as discrete. See 61 Fed.

Reg. at 4,725 (providing that population may be deemed discrete based on

“differences in … conservation status … that are significant in light of [ESA]

section 4(a)(1)(D)”). The Service’s 2010 segment determination found “that

differences in conservation status of the wolverine between the United States and

Canada are substantial and significant in light of section 4(a)(1)(D)” of the ESA.

75 Fed. Reg. at 78,037. These differences arise from the fact that “wolverines

exist in well-distributed, interconnected, large populations” in Canada, but

“wolverine populations in the remaining U.S. range appear to be at numbers so low

that their continued existence could be at risk.” Id. As the 2010 finding explained,

this risk to the wolverine’s continued existence stems from three factors: “(1)

Small total population size; (2) effective population size below that needed to

maintain genetic diversity and demographic stability; and (3) the fragmented

nature of wolverine habitat in the contiguous United States[.]” Id. The 2010


                                         11
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 17 of 42



finding concluded that, because of these factors, “maintaining wolverines within

their native range in the contiguous United States into the future is likely to require

regulatory mechanisms that are not currently in place,” and therefore these factors

are significant in light of ESA section 4(a)(1)(D). Id.; see also 16 U.S.C. §

1533(a)(1)(D) (providing that species may be deemed endangered or threatened

based on “inadequacy of existing regulatory mechanisms”).

      The Service’s 2020 Withdrawal reaffirmed the existence of these factors, but

sought to explain them away to support a finding that they were insignificant in

light of ESA section 4(a)(1)(D). See 85 Fed. Reg. at 64,629-31. However, the

Service’s proffered explanations fail basic standards for rational decision making

and defy the best available science.

                    a.    Small Total Population Size

      The Service’s Withdrawal did not question the 2010 finding’s conclusion

that “[t]here are many fewer wolverines in the contiguous United States than there

are in Canada and Alaska,” 85 Fed. Reg. at 64,629—i.e., an estimated total of

approximately 300 individuals in the lower-48 states compared to nearly 19,000 in

western Canada alone, 75 Fed. Reg. at 78,037, 78,040—but the Service deemed

this disparity “more a reflection of the amount of suitable habitat available within

the contiguous United States” than “a reflection of poor conservation status.” 85

Fed. Reg. at 64,629. The Service further claimed that “new information” now


                                          12
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 18 of 42



justifies a conclusion that “the contiguous United States wolverines represent a

peripheral population at the southern extent of the North American wolverine

range” and their small population is “a natural result of habitat fragmentation and

not reflective of a difference in conservation status.” Id.

      The Service’s conclusion is irrational and contrary to law. The agency’s

central thesis that the wolverine’s small population size in the lower-48 states is

not significant for conservation because it results from the population’s occupation

of a small amount of fragmented habitat at the periphery of the species’ range is a

non sequitur. As the 2010 finding recognized, the wolverine’s small population in

the lower-48 states “is significant because critically small populations such as

those in the contiguous United States face higher extinction risk than large ones

such as the Canada-Alaska population.” 75 Fed. Reg. at 78,037. This risk is only

magnified by the population’s occupation of limited, fragmented habitat because

that threatens “lack of connectivity between subpopulations,” which causes genetic

isolation and makes remaining populations more vulnerable to “external threats.”

Id. at 78,038-39. Thus, the Service’s own findings support, rather than disprove, a

difference in conservation status based on small population size. See Nw. Coal.

for Alternatives to Pesticides v. EPA, 544 F.3d 1043, 1052 n.7 (9th Cir. 2008)

(stating that court must “disapprove the agency’s action” where its reasoning is




                                          13
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 19 of 42



“not supported by the data it purports to interpret”) (quotation and citation

omitted).

      The Service’s Withdrawal offered no reason to doubt the continuing

legitimacy of the agency’s 2010 conclusions on this issue. The Service claimed

that “wolverines in the contiguous United States are considered to be a

metapopulation connected with wolverine populations in Canada.” 85 Fed. Reg. at

64,629. Yet the scientific source cited by the agency to support this assertion—

Inman, et al. (2013), at page 277 (cited in 85 Fed. Reg. at 64,629)—makes no such

assertion, see FWS0030724, and the Service ignored more pertinent scientific

evidence, including a 2019 study by Sawaya, et al., documenting that its genetic

analysis, together with similar past studies, indicate that Canada’s Trans-Canada

Highway “could be a continental barrier to female wolverine movement with

potential implications for wolverine conservation in southern Canada and the

United States.” FWS0049089 (emphasis added). Further, a 2019 study by Mowat,

et al., documented unsustainable trapping of wolverines in southeast British

Columbia and southwest Alberta, yielding extremely low wolverine population

densities along the Canadian side of the international border. See FWS0048778;

FWS0048779 (wolverine density map); see also FWS0006197 (Canadian biologist

advising that “generally the densities are very low” in southern Alberta and British

Columbia). A similar scientific study of the same region also documented low


                                          14
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 20 of 42



wolverine densities in southern Alberta and British Columbia and stated “concern

given the current status of wolverines in the contiguous US and reliance on

immigration from Canadian populations.” FWS0006586. The Service’s disregard

of such scientific evidence contradicting its conclusion of connectivity is arbitrary

and violates the ESA’s best-available-science requirement, 16 U.S.C. §

1533(b)(1)(A); see Kern Cnty. Farm Bureau v. Allen, 450 F.3d 1072, 1080 (9th

Cir. 2006) (stating that ESA best-available-science requirement prohibits the

Service “from disregarding available scientific evidence that is in some way better

than the evidence it relies on”) (quotation, alteration, and citation omitted).

      Further, the Service’s contention that “new information” indicates the

“peripheral” status of the lower-48 population, 85 Fed. Reg. at 64,629, fails to

provide a “reasoned explanation” for abandoning prior conclusions. Organized

Vill. of Kake, 795 F.3d at 968 (quotation and citation omitted). Contrary to the

Service’s statement that this description is “based on new information,” 85 Fed.

Reg. at 64,629, the Service described the peripheral nature of the lower-48

wolverine population in its 2010 segment finding more than a decade ago, see 75

Fed. Reg. at 78,041. The Service cannot rationally explain its reversal by

repackaging a long-understood fact about the lower-48 wolverine population as

new information. See FCC v. Fox Television Stations, Inc., 556 U.S. at 537 (“An

agency cannot simply disregard contrary or inconvenient factual determinations


                                          15
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 21 of 42



that it made in the past, any more than it can ignore inconvenient facts when it

writes on a blank slate.”) (Kennedy, J., concurring).5

                   b.     Inadequate Effective Population Size

      The Service also acted irrationally and unlawfully in dismissing the

significance of the difference in conservation status between the lower-48 and

Canadian wolverine populations reflected by the extremely small effective

population size of the lower-48 population.

      Effective population size refers to “the number of individuals in a population

that contribute offspring to the next generation.” 85 Fed. Reg. at 64,629. The

Service’s 2010 segment determination noted the “exceptionally low” effective

population size of the lower-48 wolverine population in the Rocky Mountains—

averaging only 39 individuals—and found that it was “below what is thought

necessary for short-term maintenance of genetic diversity.” 75 Fed. Reg. at

78,037. The 2010 determination also observed that resulting impacts to genetic

diversity are already apparent through ongoing “genetic drift” characterized by

lower genetic diversity in the lower-48 population than the Canadian population.

Id. at 78,038. The 2010 determination concluded that these characteristics “result


5
  The peripheral nature of the lower-48 wolverine population also does not
undermine its conservation importance. Peripheral populations often constitute the
last strongholds of imperiled species and therefore “[a]vailable scientific data
support the importance of peripheral populations for conservation.” 75 Fed. Reg.
at 78,041.

                                         16
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 22 of 42



in high extinction risk,” rendering the lower-48 wolverine population far more

“fragile” than relatively abundant and well-connected Canadian populations. Id.

      Nevertheless, in its Withdrawal, the agency retreated from its own prior

conclusions to assert that the small effective population size of the lower-48

wolverine population is not a conservation concern. 85 Fed. Reg. at 64,629. The

Service attempted to justify this assertion primarily by claiming that wolverines in

the lower-48 states are not “genetically isolated from wolverines on the other side

of the international border in Canada.” Id.

      However, the Service’s conclusion on this issue was fundamentally flawed

because the best available scientific information showing genetic variation across

the international border confirms a difference in conservation status between the

lower-48 and Canadian populations based on genetic vitality. In claiming

otherwise, the Service pointed to studies determining that all 45 wolverines

identified in a 2015-17 survey in Montana, Wyoming, and Idaho matched a single

haplotype, Wilson-A, and all five wolverines examined in Washington matched

another single haplotype, Wilson-C, and deemed these findings supportive of its

position because they indicated that “all contiguous United States historical (pre-

1900) and recent wolverine populations are likely descendants of immigrants from




                                         17
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 23 of 42



Canada.”6 Id. at 64,630. However, the Service failed to rationally address the

more pertinent point that the number of haplotypes detected in the lower-48

wolverine population is a small fraction of the genetic diversity documented in the

Canadian population. As the Service’s 2010 segment determination documented,

scientific studies have concluded that wolverines in the lower-48 states contain

only 3 of 13 haplotypes found in Canadian populations. 75 Fed. Reg. at 78,038.

The Service recognized in its 2010 determination that “[t]he reduced number of

haplotypes [in the lower-48 population] indicates not only that genetic drift is

occurring, but also that there is some level of genetic separation [between lower-48

and Canadian populations]; if these populations were freely interbreeding, they

would share more haplotypes.” 75 Fed. Reg. at 78,038. The Service in its 2020

Withdrawal failed even to attempt to justify a different conclusion in claiming that

lower-48 wolverines are not genetically isolated from Canadian populations.

      Instead, the Service appeared to posit that the wolverine’s ability to disperse

across long distances, including by traversing unsuitable habitats, negates any

conservation concerns arising from such genetic discontinuity. See 85 Fed. Reg. at

64,630. In so doing, the Service again ignored the best available scientific

information in violation of 16 U.S.C. § 1533(b)(1)(A). The Service asserted that



6
  Haplotypes refer to “sets of closely linked genetic markers that are inherited
together.” 75 Fed. Reg. at 78,038.

                                         18
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 24 of 42



its “analysis of trapping levels” does not support an assumption “that trapping in

Canada near the border acts as a barrier to wolverine movement into the

contiguous United States.” 85 Fed. Reg. at 64,630. As discussed supra, however,

this conclusion simply disregards published scientific evidence in the Mowat, et al.

(2019) and similar studies documenting that trapping impacts in southern Alberta

and British Columbia were unsustainable and yielded extremely low wolverine

densities in these Canadian regions, as well as the Sawaya, et al. (2019) study

indicating that a different obstacle, the Trans-Canada Highway, creates a

significant barrier to genetic continuity between wolverines to the north and south.

See also FWS0027091-94 (Fisher, et al. (2013) study documenting reduced

wolverine occupancy near human infrastructure). The Service also failed to

consider another recent scientific study, Kukka, et al. (2017), documenting that

Canadian wolverine trapping disproportionately removed young males that are

most likely to disperse into new areas and thus contribute to genetic connectivity

between the Canadian and lower-48 populations. FWS0033547. For these reasons

alone, the Service’s dismissal of any conservation risk resulting from the genetic

discontinuity between the lower-48 and Canadian populations was irrational and

unlawful.

      Yet the Service also irrationally relied on a few recent documentations of

long-distance movements by male wolverines to suggest “some level of


                                         19
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 25 of 42



connectivity (and potential gene flow) between currently occupied habitat … and

unoccupied habitat within the wolverine’s historical range.” 85 Fed. Reg. at

64,630. Specifically, the agency pointed to one male wolverine’s movement from

Wyoming to Colorado and then to North Dakota. Id. at 64,629-30. The Service

also pointed to a few documented wolverine movements across the Canadian

border and claimed that a single male wolverine observed in California “also

represents evidence of connectivity between wolverine populations of the Rocky

and Sierra Nevada Mountain Ranges,” id. at 64,630—even though the Service

elsewhere admitted that there is no wolverine population in the Sierra Nevada, id.

at 64,632, 64,633 (maps of wolverine occurrence).

      The Service’s reliance on these limited long-distance dispersals to “provide

evidence for connectivity,” id. at 64,630, overlooks the fact that, while a few male

wolverines have traversed human-altered landscapes, others have been less

successful, see FWS0047177; FWS0009731; FWS0006734 (documenting road-

killed wolverines in Utah and Montana). Further, the Service’s analysis again

ignored Sawaya, et al. (2019)’s documentation of the barrier impacts caused by the

Trans-Canada Highway as well as another recent study, Scrafford, et al. (2018),

documenting wolverine avoidance of roads. See FWS0038735-36. More

fundamentally, however, the Service’s invocation of a handful of long-distance

male dispersals overlooks an essential element required for “connectivity” and


                                         20
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 26 of 42



“gene flow”: the presence of a female wolverine in the same region as a dispersing

male to allow for reproduction. See 85 Fed. Reg. at 64,639 (“wolverine population

distributions are primarily limited by dispersal of the more philopatric sex

(females)”). Indeed, one of the scientific studies that the Service cited to support

its assertions, Inman, et al. (2013), see id. at 64,630, itself noted that the dispersing

wolverines in the instances cited by the Service were lone males and that female

dispersal across similar distances “is likely to be so infrequent (if possible) that it

may be of limited value in establishing or maintaining populations.” FWS0030731

(emphasis added); see also FWS0052999-53000 (California comment on Service

analysis disputing assertion that male wolverine dispersal to Sierra Nevada

provides evidence of population recovery; similar dispersal “is extremely unlikely

for a female wolverine”). The recent Sawaya, et al. (2019) study—which, again,

the Service entirely disregarded—reinforces this conclusion, documenting that

highway infrastructure constitutes a substantial barrier to female wolverine

movement. FWS0049088. The Service’s disregard for this relevant scientific

information, including information in the very scientific source material the agency

purported to rely on, further undermines its dismissal of the threat that genetic

discontinuity poses to the already genetically impoverished lower-48 wolverine

population.




                                           21
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 27 of 42



                    c.     Habitat Fragmentation

      Like its findings related to small population and low effective population,

the Service’s conclusion regarding habitat fragmentation—that wolverine habitat

fragmentation in the lower-48 states is not a significant difference in conservation

status from Canada, 85 Fed. Reg. at 64,631—disregarded, misinterpreted, and

failed to rationally analyze the best available science.

      The Service’s 2010 segment determination observed that the fragmented

nature of high-elevation, snowy wolverine habitat in the lower-48 states results in

smaller, “‘sky island’” patches separated by lower-elevation, unsuitable valley

habitats as compared to more connected and contiguous habitat in Canada. 75 Fed.

Reg. at 78,037, 78,038. Maintaining the lower-48 wolverine population therefore

requires exchange of individual wolverines between islands of snowy,

mountainous habitat to avoid inbreeding or local extinction, unlike in Canada

where exchange of individuals across more contiguous and larger habitats is both

more likely and less critical for long-term maintenance of those populations. Id. at

78,038. Yet “[i]ntermountain valleys are increasingly becoming the sites of human

residential and commercial developments and transportation corridors” that

represent barriers to wolverine movement in the lower 48. Id. Accordingly, the

Service concluded in 2010, “[t]he fragmented nature and distribution of wolverine

habitat in the contiguous United States results in a population that is highly


                                          22
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 28 of 42



vulnerable to extirpation because of lack of connectivity between subpopulations”

and “external threats.” Id. at 78,039.

      In the Withdrawal, the Service sought to minimize the obvious differences

between lower-48 and Canadian wolverine habitat by attempting to cast doubt on

its prior conclusions. See 85 Fed. Reg. at 64,631. On every point, the agency’s

analysis failed to offer a rational basis for its attempted reversal.

      The Service first arbitrarily extrapolated from several distinguishable

wolverine observational studies to claim that lower-48 wolverine habitat is not

confined to snowy “‘habitat islands’” scattered among broader expanses of

unsuitable habitat. Id. In this regard, the Service relied on certain accounts of

wolverines denning outside the geographic limits of a spring snow-cover model for

wolverine habitat—a model that was developed in a scientific study by Copeland,

et al. (2010). See 85 Fed. Reg. at 64,631; see also Defs. of Wildlife, 176 F. Supp.

3d at 982-85, 1003-05 (discussing Copeland, et al. (2010) study and rejecting the

Service’s 2014 attempt to discredit Copeland’s conclusions). However, the

Service ignored the critical fact that the denning observations it relied upon

involved wolverines occupying disparate boreal forest habitats at more northerly

latitudes where the wolverine’s colder habitat niche may not be as closely defined

by snowy landscapes. See 85 Fed. Reg. at 64,631 (citing Canadian and

Scandinavian observations). In fact, the only published, peer-reviewed analysis


                                           23
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 29 of 42



among the Service’s cited sources—Webb, et al. (2016)—itself noted a distinction

between wolverine locations in such northerly boreal forest habitats as compared to

those in Rocky Mountain environments within its Alberta study area, reporting that

the Rocky Mountain wolverines “were located in townships with high amounts of

spring snow cover,” whereas those in boreal forest habitats appeared to be less

associated with snowy spring conditions. FWS0044404. Accordingly, the Webb

study advised that “it may be important to view the Rocky Mountains and Boreal

Forest data separately when drawing conclusions.” Id. Further, Webb, et al.

(2016) suggested that its boreal forest observations reflect particular wolverine

associations with habitat conditions that are unique to that environment: “In

northern Alberta, where the dry but cold climate limits snow, temperature may

play a more important role in characterizing the distribution of wolverines and

restricting the wolverine’s niche to cooler environments where wolverines have the

competitive edge.” FWS0044405. The Service arbitrarily ignored all such

admonitions despite relying on the Webb, et al. (2016) study. See Defs. of

Wildlife v. Babbitt, 958 F. Supp. 670, 685 (D.D.C. 1997) (“Although the Court

must defer to an agency’s expertise, it must do so only to the extent that the agency

utilizes, rather than ignores, the analysis of its experts.”).

       The Service equally ignored its own prior recognition of the key distinction

between such boreal and mountainous wolverine habitats. The Service’s first


                                            24
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 30 of 42



attempt to withdraw its proposed wolverine listing rule in 2014 concluded that the

discovery of wolverine dens “in flat or lowland boreal forest area”—like those

cited in the Withdrawal—would be “largely irrelevant” to any listing decision for

the lower-48 wolverine population “because the habitats in the contiguous U.S. []

are not lowland boreal habitats but rather mountainous habitats where the

[Copeland, et al. (2010)] model fit is very good.” 79 Fed. Reg. at 47,527. The

Service made no attempt to reconcile this finding with its new conclusion in the

Withdrawal that dismissed “the distribution of persistent spring snow cover in

mountainous regions” as a key habitat feature for wolverines based on such

disparate boreal observations. 85 Fed. Reg. at 64,631; see Organized Vill. of

Kake, 795 F.3d at 966 (agency reversing policy must provide reasoned explanation

for disregarding prior factual findings). Nor did the Service examine the recent

findings of Mowat, et al. (2019), which reaffirmed “that spring snow is related to

[wolverine] density in montane environments, which suggests a functional

relationship with wolverine ecology.” FWS0048781 (emphasis added). Further,

despite its ultimate conclusion, the Service’s Withdrawal analysis lacked citation to

a single scientific study documenting wolverine denning outside areas

characterized by deep, persistent spring snow in the mountainous environments

where wolverine habitat in the lower-48 states is concentrated. See 85 Fed. Reg. at

64,631.


                                         25
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 31 of 42



      The Service also sought to dismiss the importance of snow as a critical

wolverine habitat feature in the lower-48 states by pointing to additional factors,

such as “availability of prey and avoidance of predators,” that wolverines use to

select habitat. Id. While these factors may well be important, the cited evidence

does not diminish the significance of the mountainous landscape defined by deep,

persistent spring snow cover as an essential feature of wolverine habitat in the

lower 48. To the contrary, one of the studies cited by the Service for its

conclusion, Inman, et al. (2012), explicitly agreed with Copeland, et al. (2010) that

“occupying cold, snow-covered, and relatively unproductive environments is a

common pattern throughout the global distribution of the species,” FWS0030715,

while the other, Scrafford, et al. (2017), assessed wolverines’ response to habitat

disturbances and did not address the species’ climatic habitat requirements,

FWS0038719. Accordingly, neither supports the Service’s attempt to reverse its

prior findings about the conservation threat arising from the fragmented nature of

the wolverine’s snowy habitat in the lower-48 states.7

      For all these reasons, the Service acted irrationally in reversing its prior

findings that differences in the wolverine’s conservation status across the U.S.-

Canada border satisfied the discreteness requirement for a segment designation.


7
 Indeed, the principal author of Inman, et al. (2013) developed his own estimate of
wolverine habitat in the lower-48 states, which “matched well” with Copeland, et
al. (2010), “concurring cross >96% of the western US.” FWS0030730.

                                          26
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 32 of 42



Contrary to the Service’s Withdrawal—but as the Service itself previously

determined and twice reaffirmed—the lower-48 wolverine population’s small total

and effective populations and more fragmented habitat constitute stark differences

from Canadian populations that threaten potential extirpation of this population

absent additional regulatory protections for the lower-48 wolverines. See 75 Fed.

Reg. at 78,040. Accordingly, these differences justify a discreteness finding, and

the Service violated the ESA in reversing its prior conclusions on this issue.

             2.     The Service Also Arbitrarily Determined That the Lower-48
                    Wolverine Population is Not Markedly Separate from the
                    Canadian Population

      In addition to irrationally reversing its prior conclusion regarding differences

in conservation status, the Service arbitrarily rejected a finding that the lower-48

wolverine population may be deemed discrete because of its marked separation

from more northerly populations. Under the Service’s segment policy, a wildlife

population may independently qualify as “discrete” if it is “markedly separated

from other populations of the same taxon.” 61 Fed. Reg. at 4,725. Further,

“[q]uantitative measures of genetic … discontinuity may provide evidence of this

separation.” Id. In its Withdrawal, the Service summarily disposed of this issue by

simply asserting that wolverines in the lower-48 states are not “genetically isolated

from wolverines in Canada,” and therefore “wolverines in the contiguous United




                                          27
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 33 of 42



States are not discrete based on marked separation from other populations of the

same taxon.” 85 Fed. Reg. at 64,628.8

      The Service’s conclusion on this issue arbitrarily failed entirely “to consider

an important aspect of the problem” it was addressing. Or. Nat. Res. Council, 476

F.3d at 1036 (quotations and citation omitted). Although the Service relied on a

finding that lower-48 wolverines are not “genetically isolated from wolverines in

Canada,” 85 Fed. Reg. at 64,628, the agency’s segment policy does not require

such isolation for discreteness based on marked separation. Rather, the policy

explicitly provides that quantitative measures of genetic “discontinuity”—not

isolation—may suffice. 61 Fed. Reg. at 4,725. Further, the Service’s

accompanying preamble commentary explained that “absolute reproductive

isolation” is not “a prerequisite to recognizing” a segment because that “would be

an impracticably stringent standard, and one that would not be satisfied even by

some recognized species that are known to sustain a low frequency of

interbreeding with related species.” Id. at 4,724; see id. at 4,724 (“[T]he standard

adopted [for discreteness] does not require absolute separation of a DPS from other



8
 The Service’s 2010 segment determination did not address the independent
marked-separation basis for a discreteness finding. 75 Fed. Reg. at 78,036-40.
Nevertheless, in addressing the significance prong of the segment standard, the
Service in 2010 recognized marked genetic differences between the lower-48 and
Canadian populations, although it ultimately did not rest its significance
determination on this basis. Id. at 78,041-42.

                                         28
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 34 of 42



members of its species, because this can rarely be demonstrated in nature for any

population of organisms.”); see also Nat’l Ass’n of Home Builders, 340 F.3d at

842 (recognizing that the “[discreteness] standard distinguishes a population from

other members of its species, but does not require ‘absolute separation’”) (citation

omitted). Accordingly, by insisting on genetic isolation rather than genetic

discontinuity as a basis for a discreteness finding under the marked-separation

standard, the Service arbitrarily ignored its own segment policy. See Nw. Env’t

Def. Ctr. v. Bonneville Power Admin., 477 F.3d 668, 687–88 (9th Cir. 2007)

(“[A]n agency changing its course must supply a reasoned analysis indicating that

prior policies and standards are being deliberately changed, not casually ignored,

and if an agency glosses over or swerves from prior precedents without discussion

it may cross the line from the tolerably terse to the intolerably mute.”) (citation

omitted).

      If the Service had examined the best available scientific evidence regarding

the lower-48 wolverine population’s genetic discontinuity—rather than isolation—

from Canadian wolverines, it would have found much on which to base a finding

of marked separation. As discussed supra, this includes evidence that the lower-48

wolverine population contains only 3 of the 13 haplotypes documented in the

Canadian population, which the Service in 2010 determined to indicate that

individuals are not passing freely between Canadian and U.S. populations, 75 Fed.


                                          29
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 35 of 42



Reg. at 78,041, as well as the Sawaya, et al. (2019) study documenting the barrier

to wolverine movement posed by the Trans-Canada Highway and the Mowat, et al.

(2019) and Kukka, et al. (2017) studies indicating that unsustainable Canadian

trapping presents a significant obstacle to wolverine dispersal and movement

across the U.S.-Canada border. See FWS0049082-91; FWS0048770-83;

FWS0033542-49; see also PI-001245 (2013 peer-review comment by Forest

Service geneticist stating that lower-48 wolverine population may be deemed

discrete “due to the fact that it is markedly separated from other populations”).

      By failing entirely to consider such evidence that was directly relevant to its

standard of genetic discontinuity for a discreteness finding, and instead insisting on

evidence of genetic isolation that was not required by its own segment policy, see

61 Fed. Reg. at 4,724-25, the Service again acted arbitrarily in violation of the

ESA. Or. Nat. Res. Council, 476 F.3d at 1036; 16 U.S.C. § 1533(b)(1)(A) (best-

available-science requirement). For this reason too, the Service erroneously

deemed the lower-48 wolverine population not to qualify as a segment for ESA

listing purposes.9


9
 Because the Service determined that the lower-48 wolverine population is not
discrete from the Canadian population, the agency did not complete a significance
analysis under the segment policy. 85 Fed. Reg. at 64,631. Nevertheless, for the
same reasons the Service found the lower-48 wolverine population significant in its
2010 segment determination, the population remains significant today. See 75
Fed. Reg. at 78,040-42.


                                         30
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 36 of 42



II.    THE SERVICE ARBITRARILY REJECTED THREATS TO THE
       WOLVERINE ESTABLISHED BY THE BEST AVAILABLE
       SCIENCE

       Plaintiffs adopt and incorporate the arguments by WildEarth Guardians, et

al. in case No. CV 20-183-M-DWM that the Service arbitrarily dismissed threats to

the lower-48 wolverine population from climate change, small population size, low

genetic diversity, and the cumulative effects of these and other threats, in violation

of the ESA, 16 U.S.C. § 1533(a)(1), (b)(1)(A) (requiring evaluation of threats to

species based on best available science).

III.   THE COURT SHOULD REMEDY THE SERVICE’S ESA
       VIOLATIONS BY VACATING AND REMANDING THE
       WITHDRAWAL DECISION WITH A 12-MONTH DEADLINE

       To remedy the Service’s ESA violations, this Court should vacate and

remand the challenged Withdrawal. Further, given the Service’s repeated

violations of the ESA in addressing the wolverine listing over more than two

decades, this Court should impose a 12-month remand deadline and require

quarterly status reports to ensure timely action to remedy this most recent round of

statutory violations.

       First, the Court should vacate and remand the Withdrawal. Remand is the

basic remedy for a federal agency’s violation of governing law and “vacatur of an

unlawful agency action normally accompanies a remand.” All. for the Wild

Rockies v. U.S. Forest Serv., 907 F.3d 1105, 1121 (9th Cir. 2018). Here, remand


                                            31
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 37 of 42



with vacatur is especially warranted because the Withdrawal terminates the

wolverine’s status as a species proposed for listing under the ESA and thereby

eliminates the statutory protection that this status would otherwise confer. See 16

U.S.C. § 1536(a)(4) (requiring interagency consultation regarding action likely to

jeopardize “any species proposed to be listed under” ESA); see also Pollinator

Stewardship Council v. U.S. Env’t Prot. Agency, 806 F.3d 520, 532 (9th Cir. 2015)

(vacating unlawful agency action where leaving the action “in place risks more

potential environmental harm than vacating it”); Defs. of Wildlife, 176 F. Supp. 3d

at 1011-12 (remanding and vacating 2014 withdrawal of proposed wolverine

listing).

       Second, the Court should impose a 12-month remand deadline given the

Service’s long history of ESA violations and associated delays in the 21-year

wolverine listing saga, and should require the Service to submit quarterly status

reports on its progress during the remand period. This Court has authority to

impose such requirements where circumstances warrant. See Nat’l Wildlife Fed’n

v. Nat’l Marine Fisheries Serv., 524 F.3d 917, 937 (9th Cir. 2008) (affirming

district court injunction that imposed remand deadline with reporting

requirements). In particular, an agency’s “history of … failures to comply with the

ESA” regarding a particular issue may provide “‘substantial justification’” for

requiring a remand “process that is somewhat detailed and monitored by the


                                         32
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 38 of 42



court.” Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., No. CV 01–640–RE,

CV 05–23–RE, 2005 WL 2488447, at *4 (D. Or. Oct. 7, 2005), aff’d, 524 F.3d at

917; see also Alaska Ctr. for the Env’t v. Browner, 20 F.3d 981, 986-87 (9th Cir.

1994) (affirming district court order requiring agency to submit report and propose

schedule for corrective action to remedy decade-long failure to comply with Clean

Water Act).

      Here, the Service’s history of failures is well known to this Court.

Beginning with this Court’s 2006 rejection of the Service’s preliminary, 90-day

finding on the wolverine listing petition, see Defenders of Wildlife v. Kempthorne,

CV 05-99-M-DWM, slip. op. at 18-21 (D. Mont. 2006), the agency’s unlawful

efforts to resist a wolverine listing under the ESA have repeatedly required judicial

correction—either through outright judicial reversals of Service decisions as

occurred in 2006 and 2016, see Defs. of Wildlife, 176 F. Supp. 3d at 975, or

through judicially approved settlements of challenges to agency actions that the

Service did not even attempt to defend, see Statement of Facts ¶¶ 114-17, 143.

This pattern of Service violations of the ESA has continued to the present, with the

challenged Withdrawal recycling an unjustified tactic—deeming the lower-48

wolverine population an unlistable entity—that the Service refused even to defend

when it was attempted before, and offering warmed-over versions of arguments

dismissing threats to the wolverine—including climate change and small


                                         33
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 39 of 42



population size—that this Court rejected in 2016. See Defs. of Wildlife, 176 F.

Supp. 3d at 1001-06. These circumstances alone warrant a remand deadline with a

regular reporting requirement. See Nat’l Wildlife Fed’n, 2005 WL 2488447, at *4.

      The record demonstrates even greater need for such relief. This Court’s

ruling that invalidated the Service’s 2014 attempt to withdraw the wolverine-listing

proposal stated that, “if there is one thing required of the Service under the ESA, it

is to take action at the earliest possible, defensible point in time to protect against

the loss of biodiversity within our reach as a nation. For the wolverine, that time is

now.” Defs. of Wildlife, 176 F. Supp. 3d at 1011 (emphases added). Yet despite

this Court’s clear mandate for prompt action, the Service failed to conclude its

remand consideration of the proposed listing for more than four years after this

Court’s 2016 judgment, and, even then, acted only after being prodded out of its

complacency by another lawsuit from Plaintiffs. See Statement of Facts ¶¶ 142-43.

Moreover, the record demonstrates that the Service’s relevant regional directors

recommended the agency’s ultimate decision to once again reject a wolverine

listing under the ESA at a Service meeting in January 2018. See FWS0055367

(Service summary of January 2018 meeting). Yet the Service had taken no action

to formalize this regional leadership recommendation for more than two years after

this meeting when Plaintiffs returned to this Court in March 2020 to request a

judicial deadline for agency action. Such prolonged agency delay in the face of


                                           34
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 40 of 42



prior judicial urgings underscores the need for new corrective measures to ensure

timely Service action to complete a wolverine listing process that this Court stated

nearly five years ago must be concluded “at the earliest possible, defensible point

in time.” Defs. of Wildlife, 176 F. Supp. 3d at 1011.

      Further, a 12-month timeframe constitutes an appropriate deadline. An

order from this Court vacating the Service’s Withdrawal would restore the

regulatory status quo when the Withdrawal was promulgated. See Sierra Club v.

U.S. EPA, 850 F. Supp. 2d 300, 303 (D.D.C. 2012) (“When a court vacates an

agency’s rules, the vacatur restores the status quo before the invalid rule took

effect … .”) (internal quotations omitted); accord Am. Acad. of Pediatrics v. U.S.

Food & Drug Admin., 330 F. Supp. 3d 657, 663-64 (D. Mass. 2018) (citing cases).

Here, restoring the pre-Withdrawal status quo would place the Service in the

position of facing a 12-month statutory deadline to act where the agency had

already delayed for more than four years. See 16 U.S.C. § 1533(b)(6)(A)

(imposing one-year deadline for action on proposed listing rule). Accordingly, a

12-month remand deadline is the maximum that should be allowed consistent with

Congress’s mandate and the agency’s extensive record of delay.

                                  CONCLUSION

      For the foregoing reasons, this Court should vacate and remand the

challenged Withdrawal, and should require the Service to complete its remand


                                         35
      Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 41 of 42



within 12 months of judgment and in the meantime to file quarterly reports to

update the Court and the parties on the progress of remand proceedings.

      Respectfully submitted this 5th day of November, 2021.


                                             /s/ Timothy J. Preso
                                             Timothy J. Preso
                                             Amanda D. Galvan
                                             Earthjustice
                                             P.O. Box 4743
                                             Bozeman, MT 59722-4743
                                             (406) 586-9699
                                             Fax: (406) 586-9695
                                             tpreso@earthjustice.org
                                             agalvan@earthjustice.org

                                             Attorneys for Plaintiffs in Case No.
                                             20-181




                                        36
       Case 9:20-cv-00181-DWM Document 39 Filed 11/05/21 Page 42 of 42



                          CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1(d)(2)(E), I hereby certify that this brief complies

with Local Rule 7.1(d)(2)(E) because it contains 7,985 words, excluding caption,

certificate of compliance, table of contents and authorities, exhibit index, and

certificate of service.

                                               /s/ Timothy J. Preso
                                               Timothy J. Preso




                           CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing, together with all supporting

documents, was today served via the Court’s CM/ECF system on all counsel of

record.

                                               /s/ Timothy J. Preso
                                               Timothy J. Preso
